 Case 1:17-cr-00153-TH Document 149 Filed 06/29/18 Page 1 of 1 PageID #: 411



                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

UNITED STATES OF AMERICA                   §
                                           §
v.                                         §      NO. 1:17-CR-153
                                           §
ALVARO ROMERO et al                        §

                                          ORDER

       The Court, having considered the government's Motion to Dismiss Certain

Property from the Indictment, is of the opinion that the motion is with good cause and

should be GRANTED;

       It is ORDERED that the following property is dismissed from the indictment and

no longer subject to judicial forfeiture in the above captioned case:

                 a.) 2011 Silver Ford F-350 Crew Cab XLT, TX License Plate KMW9018,
                     VIN: 1FT8W3DT0BED01865;
                 b.) 2016 White Chevrolet Tahoe, TX License Plate HDV2737;
                     VIN: 1GNSCBKCXGR137124;
                 c.) 2012 Silver Toyota Highlander, TX License Plate JFB5329,
                     VIN: 5TDZA3EH7CS022714;
                 d.) 2015 Black Audi A5 Coupe, TX License Plate GK95DN,
                     VIN: WAUMFAFR5FA035094; and
                 e.) Government Pistol CAL: 45, SN: SS44088

        SIGNED this the 29 day of June, 2018.




                                    ____________________________
                                    Thad Heartfield
                                    United States District Judge




Order - Page 1
